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                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                          www.flsb.uscourts.gov
                                              CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                           Original Plan
                                                                 Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                        ■   12MP (84 Months)                     Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Shirley May Lackie                            JOINT DEBTOR:                                          CASE NO.: 18-16491-SMG
SS#: xxx-xx- 6037                                        SS#: xxx-xx-
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                   Included        ■   Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                   Included        ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                            ■     Included            Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $1,250.13           for months   1    to 31 ;

                   2.   $2,156.00           for months 32 to 84 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                             NONE      PRO BONO
        Total Fees:            $5600.00            Total Paid:            $5075.00             Balance Due:            $525.00
        Payable             $16.94          /month (Months 1     to 31 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3500.00 base fee. $0.00 for 1st Motion to Modify + $525 2nd M2Modify + $525 M2Modify+ $525 M2Modify + $525 M2Modify

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
         1. Creditor: Santander Bank N.A.
              Address: 1 Corporate Drive Ste 360         Arrearage/ Payoff on Petition Date   $27,193.94
                       Lake Zurich, IL
                                                         Arrears Payment (Cure)                        $270.68        /month (Months   1   to 31 )
                       60047-8945
                                                         Arrears Payment (Cure)                        $354.78        /month (Months 32    to 84 )
         Last 4 Digits of
         Account No.:                7725                Regular Payment (Maintain)                    $875.99        /month (Months   1   to 31 )
                                                         Regular Payment (Maintain)                    $1,576.76      /month (Months 32    to 84 )


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                                                                                  Debtor(s): Shirley May Lackie                              Case number: 18-16491-SMG
        Other:             Mortgage on homestead property, POC 1

         ■   Real Property                                                                  Check one below for Real Property:
                 ■ Principal      Residence                                                  ■     Escrow is included in the regular payments
                       Other Real Property                                                         The debtor(s) will pay         taxes       insurance directly
         Address of Collateral:
         757 S 62 Ave Hollywood, FL 33023

             Personal Property/Vehicle
         Description of Collateral: Homestead property

         2. Creditor: Santander Bank N.A.
              Address: 1 Corporate Drive Ste 360                     Arrearage/ Payoff on Petition Date        $1,150.00
                       Lake Zurich, IL
                                                                     Payoff (Including 0% monthly interest)                $11.41         /month (Months   1   to 31 )
                       60047-8945
                                                                     Payoff (Including 0% monthly interest)                $15.02         /month (Months 32    to 84 )
         Last 4 Digits of
         Account No.:                       7725
        Other:             PostPetition Mortgage Fees, Expenses and Charges

         ■   Real Property                                                                  Check one below for Real Property:
                 ■ Principal      Residence                                                  ■     Escrow is included in the regular payments
                       Other Real Property                                                         The debtor(s) will pay         taxes       insurance directly
         Address of Collateral:
         757 South 62nd Avenue Hollywood, FL 33023

             Personal Property/Vehicle
         Description of Collateral: Homestead
             B. VALUATION OF COLLATERAL:                              ■   NONE
             C. LIEN AVOIDANCE                     ■    NONE
             D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
                distribution fom the Chapter 13 Trustee.
                       ■   NONE
             E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
                fom the Chapter 13 Trustee.
                       ■   NONE
IV.          TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
             A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                                    ■     NONE
             B. INTERNAL REVENUE SERVICE:                             ■   NONE
             C. DOMESTIC SUPPORT OBLIGATION(S):                               ■    NONE
             D. OTHER:             ■   NONE
V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay               $0.00              /month (Months     1       to 31 )
                       Pay         $13.00              /month (Months 32          to 84 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.      ■     If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                         ■    NONE
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                                                                         Debtor(s): Shirley May Lackie                     Case number: 18-16491-SMG
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■   NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                             NONE
                       ■   Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
VIII.       NON-STANDARD PLAN PROVISIONS                 NONE
            ■ Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
              Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                  In the event the Debtor recovers any non-exempt proceeds from their pending lawsuit, those proceeds
                 will be placed in the Debtor’s Attorney’s Trust Account and turned over to the Chapter 13 Trustee for the
                 benefit of the unsecured creditors over and above what is provided for in the plan up to 100% of allowed
                 unsecured claims.
                 Debtor seeks to extend her Chapter 13 plan to 7 years (84 months) pursuant to the CARES Act. The Debtor's income has
                 decreased due to the pandemic, as she no longer receives the room rental income.
                  Mortgage Modification Mediation


                           PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                               Debtor                                                               Joint Debtor
  Shirley May Lackie                                             Date                                                                     Date



  /s/ Simona Burshteyn                              12/5/2020
    Attorney with permission to sign on                         Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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